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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION



MONICA ABBOUD, individually, and on                   Case No. 4:24-CV-517
behalf of all others similarly situated,
                                                      FIRST AMENDED CLASS ACTION
                         Plaintiff,                   COMPLAINT FOR VIOLATIONS OF
                                                      THE TELEPHONE CONSUMER
           v.                                         PROTECTION ACT

THE SAVINGS BANK MUTUAL LIFE
INSURANCE COMPANY OF                                  DEMAND FOR JURY TRIAL
MASSACHUSETTS,
                 Defendant



                     FIRST AMENDED CLASS-ACTION COMPLAINT

       Plaintiff, Monica Abboud (“Plaintiff”, “Ms. Abboud” or “Abboud”), on behalf of herself

and all others similarly situated, by and through her undersigned attorneys, submits her First

Amended Class-Action Complaint against Defendant The Savings Bank Mutual Life Insurance

Company of Massachusetts (“Defendant” or “SBLI”). In support thereof, Plaintiff states as

follows:

                                      NATURE OF THE CASE
       1.       Plaintiff Monica Abboud brings this action individually and on behalf of all others

similarly situated, seeking damages and any other available legal or equitable remedies resulting

from the unlawful actions of Defendant.

       2.       Defendant violated Plaintiff’ and the putative class-members’ rights by placing

solicitation calls to Plaintiff and the putative class members’ residential lines in violation of the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq. and the TCPA’s


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corresponding regulations.



                               BACKGROUND ON THE TCPA

       3.      In 1991, after passage with bipartisan support in Congress, President George H.W.

Bush signed the TCPA into law, to protect consumers’ privacy rights- specifically, the right to be

left alone from unwanted telemarketing calls.

       4.      A leading sponsor of the TCPA described telemarketing “robocalls” the “scourge

of modern civilization.” 137 Cong. Rec. 30821 (1991).

       5.      Decades after the TCPA passed into law, it is still unfortunately the case that

“[m]onth after month, unwanted telemarketing calls and texts top the list of consumer complaints

received by the [Federal Communications] Commission.” Omnibus TCPA Order, 30 FCC Rcd.

7961, 7964 (F.C.C. July 10, 2015).

       6.      In fact, in 2021 alone, there were over five million complaints from Americans to

the FTC about unwanted telemarketing calls. Federal Trade Comm’n, FTC Issues Biennial Report

to Congress on the National Do Not Call Registry (Jan. 5, 2022) available at:

https://www.ftc.gov/news-events/news/press-releases2022/01/ftc-issues-biennial-report-

congress-national-do-not-call-registry.

       7.      The private right of enforcement of the TCPA is critical to stopping the proliferation

of these unwanted telemarketing calls. For example, while the Federal Communications

Commission levied over $200 million in penalties against telemarketers between 2015 and 2018,

it collected less than $7,000 of that amount. See Sarah Krouse, The FCC Has Fined Robocallers

$208 Million. It’s Collected $6,790, THE WALL STREET JOURNAL, March 28, 2019,




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https://www.wsj.com/articles/the-fcc-has-fined-robocallers-208-million-its-collected-6-790-

11553770803.

                                 JURISDICTION AND VENUE

        8.      This Court has subject-matter jurisdiction over the TCPA claims in this action

under 28 U.S.C. § 1331, which grants this court original jurisdiction of all civil actions arising

under the laws of the United States. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 386-87

(2012) (confirming that 28 U.S.C. § 1331 grants the United States district courts federal-question

subject-matter jurisdiction to hear private civil suits under the TCPA).

        9.      This Court has personal jurisdiction over Defendant SBLI, which conducts business

in the State of Texas.

        10.     Venue is proper pursuant to 28 U.S.C. §1391(b)(2).

                                                 PARTIES

        11.     Plaintiff, Monica Abboud is a natural person who resided in Katy, State of Texas

at all times relevant hereto.

        12.     Plaintiff is, and at all times mentioned herein was, a “person,” as defined by 47

U.S.C. § 153(39).

        13.     Defendant SBLI is a corporation located at Woburn, Massachusetts.

        14.     SBLI is a “person” as that term is defined by 47 U.S.C. §153(39).

        15.     SBLI acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

        16.     Defendant acted through their agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, and representatives.




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                                  FACTUAL ALLEGATIONS

                                    Facts Specific to Abboud

       17.      At all times relevant hereto, Abboud owned a cell phone number (713)-xxx-0306

(“Cell Phone”).

       18.      She used that Cell Phone for primarily residential purposes, such as speaking with

family and friends.

       19.      Abboud’s number was registered to her as an individual, and not to a business.

       20.      Abboud’s registered her number on the Federal Do-Not-Call Registry in or around

February 27, 2020, in order to obtain solitude from unwanted telemarketing calls.

       21.      At all times relevant, Abboud was the sole user and/or subscriber of the Cell Phone

and was financially responsible for phone service to the Cell Phone.

       22.      In SBLI’s overzealous attempt to market its senior benefits, SBLI willfully or

knowingly made (and continues to make) unsolicited telemarketing phone calls to people

registered on the National Do Not Call Registry.

       23.      Through this conduct, SBLI has invaded the privacy of Ms. Abboud and members

of the Class.

       24.      At no time prior to SBLI first initiating its call to Ms. Abboud did Ms. Abboud

provide her Cell Phone number to SBLI, or through any medium.

       25.      At no time did Ms. Abboud ever enter in a business relationship with SBLI before

the call campaign.




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       26.     At no point did Ms. Abboud provide SBLI with her express written consent to be

called for telemarketing purposes.

       27.     Nonetheless, on or around May 4, 2023, Defendant started placing telemarketing

phone calls to Plaintiff’s Cell Phone soliciting senior benefits.

       28.     During the first call on May 4, 2023, Abboud advised SBLI that she was not

interested in the senior benefits they were marketing to her and requested they not call.

       29.     Abboud was also hesitant to provide the highly personal information that SBLI was

requesting, such as her social security number.

       30.     However, Defendant continued to place calls to Abboud despite knowing she was

not interested and did not want to be called.

       31.     Abboud received calls on dates including, but not limited to May 4, 2023

(additional call), May 5, 2023, May 6, 2023, May 15, 2023, May 16, 2023 (2 calls), May 26, 2023,

May 30, 2023, May 31, 2023, June 1, 2023, and June 26, 2023.

       32.     Abboud knew the calls were from SBLI because the callers would identify

themselves during these communications, advise why they were calling, and ask for personal

information from Abboud in order to discuss the senior benefits they were offering.

       33.     Abboud informed representatives on other occasions that she was not interested in

the senior benefits they were offering and did not want to provide them with personal information.

       34.     As a result of the unlawful robocall, Ms. Abboud experienced frustration,

annoyance, irritation and a sense that her privacy had been invaded.




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                                      CLASS ALLEGATIONS

        35.     Pursuant to Federal Rule of Civil Procedure 23(a), (b)(2) and (b)(3), Plaintiff

brings this lawsuit as a class action on behalf of herself and all others similarly situated. This action

satisfies the requirements of numerosity, commonality, typicality, and adequacy of representation.

        36.     Plaintiff seeks to represent the following class:

                All persons within the United States who from four years prior to
                the date of the filing of this lawsuit to the date of class certification:
                (1) received more than one telephone call from SBLI or someone
                acting on its behalf (2) during a 12-month period; (3) where the calls
                were made in connection with a campaign to solicit products or
                services; and (4) whose number was registered on the Do Not Call
                Registry for more than 31 days at the time the calls were received.


        37.     Plaintiff reserves the right to amend or modify the class definitions consistent with

the record.

        38.     The putative class members’ identities are readily ascertainable from Defendant’s

records or records within Defendant’s control.

        39.     Plaintiff’s claims are typical of the class members, as all are based on the same facts

and legal theories.

        40.     Plaintiff will fairly and adequately protect the interests of the Class defined in this

complaint. The Plaintiff has retained counsel with experience in handling consumer lawsuits,

complex legal issues, and class actions, and neither the Plaintiff nor her attorneys have any interests

which might cause them not to vigorously pursue this action.

        41.     This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules Civil Procedure because there is a well-

defined community interest in the litigation.



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        42.      Class Members are so numerous and that their individual joinder of all class

members is impracticable. There are no likely difficulties to be encountered in managing this case

as a class action.

        43.      Common questions of law and fact exist to all Class Members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to the following:

              a. Whether Defendant’s conduct violates 47 U.S.C. § 227(c) and the
                 corresponding rules and regulations implementing the TCPA; and

              b. Whether Plaintiff and the putative class members are entitled to
                 increased damages for each violation based on the willfulness of
                 Defendant’s conduct.

        44.      Plaintiff’s claims are typical of the claims of the proposed class members because

her claims arise from the same practice that gives rise to the claims of the members of the proposed

class and is based on the same legal theories.

        45.      Plaintiff will fairly and adequately protect the interests of the class members insofar

as Plaintiff has no interests that are averse to the absent class members. Plaintiff is committed to

vigorously litigating this matter. Plaintiff has also retained counsel experienced in handling

consumer lawsuits, complex legal issues, and class actions. Neither the Plaintiff nor her counsel

have any interests that might cause them not to vigorously pursue this class action lawsuit.

        46.      The class action mechanism is superior to other available means for the fair and

efficient adjudication of this case. Each individual class member may lack the resources to undergo

the burden and expense of individual prosecution of the complex and extensive litigation necessary

to establish Defendant’s liability. Individualized litigation increases the delay and expense to all

parties and multiplies the burden on the judicial system presented by the complex legal and factual


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issues of this case. Individualized litigation also presents a potential for inconsistent and

contradictory judgments. In contrast, the class action device presents far fewer management

difficulties and provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court on the issue of Defendant’s liability. Class treatment of the liability

issues will ensure that all claims and claimants are before this Court for consistent adjudication of

the liability issues.

        47.     SBLI is headquartered in this District. This District is therefore an appropriate

forum in which to adjudicate this dispute. Based on discovery and further investigation, Plaintiff

may, in addition to moving for class certification, use modified definitions of the class, class

claims, and the class period, and/or seek class certification only as to particular issues as permitted

under Rule 23. Such modified definitions may be more expansive to include consumers excluded

from the foregoing definitions.

                                              COUNT I
                        Violations of the Telephone Consumer Protection Act
                                         47 U.S.C. § 227(c)(5)
                                          Do-Not-Call Claim

        48.     Ms. Abboud re-alleges and incorporates by reference each preceding paragraph as

though fully set forth herein.

        49.     Abboud brings this Count individually and on behalf of all others similarly situated.

        50.     The TCPA prohibits any person or entity of initiating any telephone solicitation to

a residential telephone subscriber who has registered her or her telephone number on the National

Do-Not-Call Registry of persons who do not wish to receive telephone solicitations that is

maintained by the Federal Government. 47 U.S.C. § 227(c).




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       51.      Defendant called Plaintiff for solicitation purposes despite the fact her number had

been on the Do Not Call Registry since February 2020.

       52.      Defendant called Plaintiff and the putative class members on multiple occasions

during a single calendar year despite Plaintiff’s registration on the Do Not Call list.

       53.      Defendant’s acts as described above were done with malicious, intentional, willful,

reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the purpose

of harassing Plaintiff and the putative class members.

       54.      The acts and/or omissions of Defendant were done unfairly, unlawfully,

intentionally, and absent bona fide error or good faith mistake.

       55.      As a result of the above violations of the TCPA, Plaintiff has suffered the losses

and damages as set forth above entitling Plaintiff to an award of statutory, actual and treble

damages.



                                      Prayer for Judgment

       WHEREFORE, Plaintiff MONICA ABBOUD, individually, and or on behalf of all other

similarly situated, requests the Court grant the following relief:

             a. Enter an order against Defendant SBLI pursuant to Federal Rule of Civil

                Procedure 23(a), (b)(2) and (b)(3), certifying this action as a class action

                and appointing Ms. Abboud as the class representative;

             b. Enter an order appointing Kazerouni Law Group, APC as class counsel;

             c. Enter judgment in favor of Ms. Abboud and the putative class for all

                damages available under the TCPA, including statutory damages of $500




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               per violation of 47 U.S.C. § 227(c) and up to $1,500 per violation of each

               subsection if Defendant willfully violated the TCPA;

            d. Enter injunctive relief against both Defendant as permitted under the TCPA;

            e. Award Ms. Abboud and the class all expenses of this action, and requiring

               Defendant to pay the costs and expenses of class notice and administration;

               and

            f. Award Ms. Abboud and the class such further and other relief the Court

               deems just and appropriate.




                                DEMAND FOR JURY TRIAL

         PLEASE TAKE NOTICE that Plaintiff, MONICA ABBOUD, demands a jury trial in this

case.



Dated: May 8, 2024                           Respectfully submitted,

                                             KAZEROUNI LAW GROUP, APC

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